        Case 1:20-cv-00003-JB-JFR Document 51 Filed 11/30/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

JOSEPH CALDWELL,

               Plaintiff,

vs.                                                                       No. CIV 20-0003 JB\JFR

UNIVERSITY OF NEW MEXICO
BOARD OF REGENTS, NASHA
TORREZ, LOBO DEVELOPMENT
CORPORATION, ACC OP (UNM
SOUTH) LLC, and EDDIE NUNEZ,

               Defendants.

                                              ORDER1

       THIS MATTER comes before the Court on the Defendant Eddie Nunez’s Motion for

Judgment on the Pleadings, filed February 14, 2020 (Doc. 23). The Court held a hearing on April

24, 2020. See Clerk’s Minutes, filed April 24, 2020 (Doc. 36). The primary issue is whether the

Court should dismiss the claims against Defendant Eddie Nunez, because the Complaint for

Injunctive Relief and Damages, filed January 2, 2020 (Doc. 1), fails to state a claim upon which

relief can be granted. See Fed. R. Civ. P. 12(b)(6), (c); Jacobsen v. Deseret Book Co., 287 F.3d

936, 941, n.2 (10th Cir. 2002)(“If the defendant makes [a] motion [under rule 12(b)(6) of the

Federal Rules of Civil Procedure] after filing the answer, the motion should generally be treated

as a motion for judgment on the pleadings. . . . We use the same standard when evaluating 12(b)(6)

and 12(c) motions.” (citing Fed. R. Civ. P. 12(b)(6), (c), (h)(2)). The Court concludes that Nunez




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        This Order disposes of the Defendant Eddie Nunez’s Motion for Judgment on the
Pleadings, filed November 4, 2019 (Doc. 23). The Court will issue, however, a Memorandum
Opinion at a later date more fully detailing its rationale for this decision. The Court’s current draft
of the Memorandum Opinion is 62 pages.
          Case 1:20-cv-00003-JB-JFR Document 51 Filed 11/30/20 Page 2 of 2




has shown that there are no material issues of fact remaining to be resolved and that he is entitled

to judgment as a matter of law. See Mata v. Anderson, 760 F. Supp. 2d 1068, 1082 (D.N.M.

2009)(Browning, J.).

          IT IS ORDERED that Nunez’ Motion for Judgment on the Pleadings is granted.




                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE
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